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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11    MARISSA GLOVER,                                   Case No.: 3:16-cv-01785-BEN-BLM
12                                     Plaintiff,
                                                        ORDER GRANTING JOINT
13    v.                                                MOTION TO DISMISS
                                                        DEFENDANT EQUIFAX
14    COMENITY CAPITAL BANK, et al.,
                                                        INFORMATION SERVICES, LLC
15                                  Defendants.
16
17          The Court has considered the Joint Motion for Dismissal with Prejudice (the “Joint
18    Motion”) filed by Plaintiff Marissa Glover and Defendant Equifax Information Services,
19    LLC (“Equifax”). (Docket No 24.)
20          For good cause shown, the Joint Motion is GRANTED. Defendant Equifax is
21    DISMISSED WITH PREJUDICE from the action. Each party shall bear its own fees
22    and costs.
23          IT IS SO ORDERED.
24
25    DATED: February
                                                    HONV .              ENITEZ
26                                                  United States District Judge
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